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 6   Attorney for Defendant
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 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        )       CR NO. S-06-441 GEB
                                                      )
12          Plaintiff,                                )
                                                      )       JOINT REQUEST AND [PROPOSED]
13                                                    )       ORDER FOR A PRE-PLEA REPORT
     v.                                               )       CALCULATING MR. VENEGAS’
14                                                    )       CRIMINAL HISTORY
     RICARDO VENEGAS,                                 )
15                                                    )       Judge: Hon. Garland E. Burrell
                                                      )
16
            Defendant.                                )

17
            The Parties, Jill Thomas Esq., Assistant United States Attorney, and counsel for
18

19   defendant Ricardo Venegas, John R. Manning, Esq., jointly request the Court order the United

20   States Probation Department to draft a pre-plea report for the sole purpose of calculating
21
     defendant Ricardo Venegas’ criminal history. Mr. Venegas’ criminal history is sufficiently
22
     complicated that a pre-plea report is necessary to assist the parties in resolving the matter.
23
            Respectfully submitted,
24

25   Dated: February 9, 2012                        /s/ John Manning
                                                    JOHN R. MANNING
26                                                  Attorney for Defendant
                                                    Ricardo Venegas
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 1   Dated: February 9, 2012             Benjamin B. Wagner
 2
                                         United States Attorney

 3                                 by:   /s/ Jill Thomas
                                         Assistant U.S. Attorney
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 8                                          IN THE UNITED STATES DISTRICT COURT

 9                                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                     )       CR NO. S-06-441 GEB
                                                                   )
12                         Plaintiff,                              )
                                                                   )       [PROPOSED] ORDER FOR A PRE-PLEA
13                                                                 )       REPORT CALCULATING MR. VENEGAS’
     v.                                                            )       CRIMINAL HISTORY
14                                                                 )
     RICARDO VENEGAS,                                              )       Judge: Hon. Garland E. Burrell
15                                                                 )
                                                                   )
16
                           Defendant.                              )

17
                           The Parties’ joint request that the United States Probation Department draft a pre-plea
18
     report for the sole purpose of calculating defendant Ricardo Venegas’ criminal history is granted.
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20
     IT IS SO ORDERED.
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     Date:                 2/15/2012
22

23
                                                                             _________________________
24                                                                           GARLAND E. BURRELL, JR.
                                                                             United States District Judge
25

26   DEAC_Signature-END:




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